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                                                ORDERED.


        Dated: September 23, 2019




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                          JACKSONVILLE DIVISION


In re

MARK S. CHAMBERS                                                  CASE NO. 10-03417-F7
VIRGINIA CHAMBERS

                      Debtors.
_____________________________________


                        ORDER SUSTAINING TRUSTEE'S OBJECTION TO CLAIM 9


         On the consents of the trustee and claimant, Federal Home Loan Mortgage Corporation, it is

         ORDERED that the trustee's objection to claim 9 is sustained and the claim is allowed as a general unsecured

claim subordinate to timely filed claims, without prejudice to any other party in interest filing an objection to the claim

pursuant to §502(a) of the Bankruptcy Code.

         We consent to this order:



     /s/ Gregory K. Crews                                             /s/ Joshua M. Liszt
GREGORY K. CREWS                                                  JOSHUA M. LISZT
Attorney for Trustee                                              Attorney for the Claimant
Florida Bar No. 172772                                            Florida Bar No. 725811
8584 Arlington Expressway                                         1095 Broken Sound Pkwy, NW, #100
Jacksonville, Florida 32211                                       Boca Raton, Florida 33487
(904) 354-1750                                                    (866) 202-8200

Gregory Crews, Trustee, is directed to serve a copy of this order on interested parties and file a proof of service within
3 days of entry of the order.
